     Case 2:23-cv-00644-MJH Document 1-7 Filed 04/19/23 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVISON DESIGN &                     )
DEVELOPMENT, INC.,                   )
                                     )
            Plaintiff,               )
                                     ) No.
    v.                               )
                                     )
MARIO SCORZA,                        )
                                     )
            Defendant.               )

                               Exhibit 6

                  March 6, 2023 Scheduling Order #12
           Case 2:23-cv-00644-MJH Document 1-7 Filed 04/19/23 Page 2 of 2




 Case Number: 01-21-0004-6369

 Mario Scorza
 -vs-
 Davison Design & Development, Inc.



                                     Scheduling Order #12



         The Arbitrator received the parties’ post-hearing briefs on Friday, March 3, 2023 and,

accordingly, the hearing is now closed for evidentiary purposes. The Arbitrator shall issue an

award on or before April 3, 2023.



Dated: March 6, 2023                 Arbitrator Signature:
                                                             Scott D. Livingston




{A1777355.1}
